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447-102973 (SXK/CMS)
ELAINE LEVINS and WILLIAM LEVINS, _ | UNITED STATES DISTRICT COURT

on behalf of themselves and other similarly DISTRICT OF NEW JERSEY
situated CAMDEN VICINAGE
VS. Case No. 1:17-cv-00928-RBK-KMW

HEALTHCARE REVENUE RECOVERY CIVIL ACTION

GROUP, LLC D/B/A ARS ACCOUNT
RESOLUTION SERVICES AND JOHN and

JANE DOES 1 THROUGH 25 DEFENDANT’S ANSWERS TO

PLAINTIFF’S INTERROGATORIES

 

Defendant, Healthcare Revenue Recovery Group, LLC, herby responds to Plaintiff's
Interrogatories as follows:

l. What is the name and last known address of each human being who provided any
information used to respond to any of these Interrogatories?

ANSWER: Objection. The question of overbroad. Without waiving same,
Defendant drafted the responses with assistance of counsel.
Information was obtained from various sources, including David
Friedlander.
2. What is the name and last known address of each human being who investigated the

factual allegations set forth in the Complaint?

ANSWER:

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Objection, this question is improper in that is suggests a non-existent
legal obligation to “investigate” Plaintiffs’ allegations. To the
contrary, it is solely Plaintiffs’ burden to establish a cause of action
against Defendant. Defendant denies all allegations in the complaint.
The question is also over broad to the extent it inquires as to conduct
by “human beings” beyond Defendant. In addition, to the extent this
question inquires as to investigation of allegations by the Defendant
and its counsel, it improperly calls for the disclosure of attorney work

produce and/or privileged information. .

EXHIBIT

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3: Describe each Communication You made or sent to either or both Plaintiffs. The
description for each Communication should be sufficient to distinguish it from all other
Communications. Such detail can include, but is not limited to, the date and time of the
Communication, the way the Communication was made, and the content of the

Communication.

ANSWER: On November 30, 2015, a letter was mailed to Elaine Levins.
Thereafter, multiple telephone messages were left with the Plaintiffs
on various dates, and in every one the caller was identified as “ARS.”
The content of the letter speaks for itself.

4, Describe each Communication You received from either or both Plaintiffs. The
description for each Communication should be sufficient to distinguish it from all other
Communications. Such detail can include, but is not limited to, the date and time of the
Communication, the way the Communication was made, and the content of the
Communication.

ANSWER: Answering Defendant did not receive any communications from the
Plaintiffs. In particular, the Plaintiffs never disputed that they owed
the debt and never called Defendant in response to the telephone
messages.

5, How do You create and store records of each written and oral Communication between
You and a Consumer? If any records are stored in a database, include a description of

each field in the database.

ANSWER: Objection. This question is overbroad and beyond the scope of
discovery established in the November 7, 2018 Order. It has nothing
to do with whether Defendant regularly transacts business using
“ARS,” or whether “ARS” is a commonly used acronym.

6. What is the meaning of each abbreviation, code, letter, numeral, or symbol regularly used
in Your records of collection activities?

ANSWER: Objection. This question is overbroad and beyond the scope of
discovery established in the November 7, 2018 Order. It has nothing
to do with whether Defendant regularly transacts business using
“ARS,” or whether “ARS” is a commonly used acronym.

Te What is the name and last known address of each human being who attempted to collect
the Obligation on HRRG's behalf?

ANSWER: Objection, this question is overly vague in the context of the
allegations in this case. Without waiving same, no person from

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10.

Defendant has attempted to collect the obligation from the Plaintiffs.
More specifically, the letter and telephone messages left for the
Plaintiffs were not generated by a specific individual.

State each name, acronym, and abbreviation under which Healthcare Revenue Recovery
Group, LLC has identified itself to others since its formation and, for each, include dates
when the name, acronym, or abbreviation was first used and last used.

ANSWER: Objection. This question is overbroad as to time frame and subject
matter in light of the November 7, 2018 Order. Without waiving
same, “ARS Account Resolution Services” began operations in
January 2009. Since then, “ARS” has always been used by the
Defendant as an abbreviation for ARS Account Resolution Services.
Transactions also appear as “ARS” on credit card statements.

Describe with reasonable particularity each Communication which You made during the
Term in which you used "ARS" but in which you did not include one of the following in
the same Communication: "Healthcare Revenue Recovery Group", "HRRG", or
"Account Resolution Services".

ANSWER: Objection. This question is overbroad as to time frame and subject
matter in light of the November 7, 2018 Order. Without waiving
same, the telephone message left with Plaintiffs refers only to “ARS.”
In addition, if the Plaintiffs had made a payment on Defendant’s
website, arspayment.com, the transaction would only appear as
“ARS” on the credit card statement. In addition, the only business
name visible on the outside of the Plaintiffs’ November 30, 2015
collection letter was “ARS.” “ARS” is prominently displayed in the
upper left have corner of the Plaintiff’s collection letter and is placed
in font which is twice as large as any other font in the letter. The
bottom left hand portion of the letter also directs consumers to send
payments to “ARS.”

State the factual basis for Your decision to use "ARS Account Resolution Services" to
either describe or identify Healthcare Revenue Recovery Group, LLC. If the factual
basis includes any Documents, describe each Document with reasonable particularity
enough to identify it.

ANSWER: Objection. This question as phrased is vague and unintelligible in
referring to some undefined “decision.” By way of further objection,
any such “decision” is not probative of any material issue in this case.
Without waiving same, ARS Account Resolution Services began
operations in January 2009, and since then “ARS” is the name under
which it usually transacts with the public.

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16.

State the factual basis for Your decision to use "ARS" (1.e., "ARS" alone and not
followed by "Account Resolution Services”) to either describe or identify Healthcare
Revenue Recovery Group, LLC to others. If the factual basis includes any Document,
describe each Document with reasonable particularity enough to identify it.

ANSWER: Objection. This question as phrased is vague and unintelligible in
referring to some undefined “decision.” ARS Account Resolution
Services is a registered trade name. By way of further objection, any
such “decision” is not probative of any material issue in this case.

When did You begin using "ARS" (i.e., "ARS" alone and not followed by "Account
Resolution Services") in voicemail messages left for Consumers?

ANSWER: ARS Account Resolution Services began operations in January 2009,
and “ARS” has been utilized since that time.

State all facts that support Your contention that this Court lacks jurisdiction over the
subject matter of Plaintiffs First Amended Complaint.

ANSWER: Based on discovery produced to date, Defendant does not anticipate
relying on this affirmative defenses at this time.

State all facts that support Your contention that Plaintiffs' claims are barred by the
applicable Statute of Limitations and/or Laches.

ANSWER: Some communications between the Defendant and the Plaintiffs took
place more than a year prior to the filing of Plaintiffs’ complaint and
such claims are therefore time barred

State all facts that support Your contention that the Answering Defendant owed no duty
to Plaintiff at the time of Plaintiff's alleged injuries.

ANSWER: _ It is Plaintiffs’ burden to establish each element of the cause of action
alleged, including the existence, nature, and scope of a legal duty to
Plaintiffs. Defendant denies that Plaintiffs have satisfied that burden.

State all facts that support Your contention that if the damages of the Plaintiffs are true
and proven then such damages were not caused by any conduct of Answering Defendant,
which was secondary and passive, but were caused by the primary and active conduct of
third parties over whom the Answering Defendant had no control.

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21.

ANSWER: | Based on discovery produced to date, Defendant does not anticipate
relying on this affirmative defenses at this time.

State all facts that support Your contention that the claims of Plaintiffs are barred in
whole or in part by the Entire Controversy Doctrine.

ANSWER: Based on discovery produced to date, Defendant does not anticipate
relying on this affirmative defenses at this time.

State all facts that support Your contention that the claims of Plaintiffs are barred by the
doctrines of arbitration and award, estoppel, res judicata, and/or waiver.

ANSWER: Based on discovery produced to date, Defendant does not anticipate
relying on this affirmative defenses at this time.

State all facts that support Your contention that Plaintiffs’ claims are barred for failure to
exhaust all administrative remedies.

ANSWER: | Based on discovery produced to date, Defendant does not anticipate
relying on this affirmative defenses at this time.

State all facts that support Your contention that Defendant is entitled to the bona fide
error defense.

ANSWER: The bona fide error defense provides that a debt collector may not be
held liable if it can show that a violation was not intentional and
resulted from a bona fide error notwithstanding the maintenance of
procedures reasonably adapted to avoid such procedures. Defendant
shall rely upon ail documents produced by all parties and third-
parties, all interrogatory responses, and all party and third-party
depositions to support this defense.

State all facts that support Your contention that "ARS" is either the name under which
HRRG usually transacts business or a commonly used acronym of its registered name,
"ARS Account Resolution Services."

ANSWER: ARS Account Resolution Services began operations in January 2009,
and since then “ARS” is the name under which it usually transacts
with the public. In all of the written and ora] communications with
the Plaintiffs, Defendant consistently used the name “ARS.” The only
business name visible on the outside of the Plaintiffs’ November 30,
2015 collection letter was “ARS.” “ARS” is prominently displayed in
the upper left hand corner of the written correspondence to Plaintiffs

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in font which is twice as large as any other font in the letter. The
bottom left hand portion of the letter also directs Plaintiffs to send
payments to “ARS.”

In all telephone communications with consumers Defendant’s
employees exclusively utilize the “ARS” name. In addition,
Defendant’s website is identified as “arspayment.com.” All payments
by consumers made via the website will appear as “ARS” ona
consumer’s credit card statement. In addition, Defendant uses “ARS”
in dealings with vendors.

22: If You contend that each voicemail message You left for either or both Plaintiffs did not
misrepresent your identity as being that of another debt collector, state all facts which
support that contention.

ANSWER:

Objection. This question incorrectly suggests it is Defendant’s burden
to establish a negative. To the contrary it is Plaintiffs’ burden to
establish each element of cause of action. Moreover, discovery has
demonstrated no evidence of any misrepresentation of the identity of
“ARS.” To the contrary, the telephone messages to Plaintiffs
identified the caller as “ARS.” A website and telephone number were
provided. The identity of the caller and nature of the call is fully and
plainly disclosed. The actual website is even provided to allow
payments to be made. The website advises that “ARS” will appear on
a consumer’s credit card statement after an online payment is made.
In addition, well before the Plaintiffs received the alleged telephone
message, Defendant sent Elaine Levins a letter. The only business
name visible on the outside of the Ms, Levins’ November 30, 2015
letter was “ARS.”

23. If You contend that "ARS" (i.e., "ARS" alone and not followed by "Account Resolution
Services") is an acronym commonly used by You to identify yourself, state all facts
which support that contention.

ANSWER:

See response to no. 21.

24, If You contend You consistently used "ARS" (i.e., "ARS" alone and not followed by
"Account Resolution Services") when dealing with either or both Plaintiffs, state all facts
which support your contention,

ANSWER:

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See response to no. 21.
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CORPORATE DECLARATION

I am authorized to make this declaration. I declare under penalty of perjury that the
foregoing is true and correct. I am aware that if any of the foregoing statements made by me are

willfully false, J am subject to punishment.

David Friedlander

David M. Friedlander
President, Healthcare Revenue Recovery

Group, LLC

Dated: 3/13/2019

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